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                        EXHIBIT 01
                    Re: Update on response to respondent's reply and phone conference about communication with children   EXHIBIT 01
                Case 1:24-cv-00648-AA                  Document 27-1             Filed 07/15/24          Page 2 of 2
         Subject: Re: Update on response to respondent's reply and phone conference about
         communication with children
         From: Arnaud Paris <arnaud@skyvr.com>
         Date: 03/07/2024, 21:16
         To: Katrina Seipel <KAS@buckley-law.com>
         CC: Katelyn Skinner <kds@buckley-law.com>, Wendy Goodyear <wag@buckley-law.com>

         Miss Seipel, I would like to setup a phone conference urgently regarding the abduction that
         Miss Brown committed and I would like you to explain how Miss Brown took Eva and Juliette
         outside of France in violation of two French judgments including one forbidding Miss Brown to
         exit France or Europe with our children that Miss Brown told in person she would never dare
         violate to the presiding judge of the appeal court of Paris just a few days before.
         Please provide me with the detailed itinerary she took to leave France and which exit point of
         the European border controls she used and at what exact time of passage.
         Please provide me with the documents she used to exit Europe.
         I would like to know your involvement and the involvement of your law firm in the preparation
         of this abduction since last August.
         I would like to talk also with you about the parental alienation undergoing since Miss Brown
         abducted our children from France and the fact that neither me nor my family could do a single
         video call for the last three months with Eva and Juliette.
         Please let me know of your availability to discuss these points urgently in the next few days
         and please provide me with the requested documents right away.
         Regards,
         Arnaud Paris

          Le 3 juil. 2024 a 19:02, Katrina Seipel <KAS@buckley-law.com> a ecrit
          Mr. Paris--
          I have an obligation to attempt conferral with you regarding our motion to dismiss. While I
          doubt vie will be able to come to any sort of consensus, please let me know if there is a
          day/time you are willing to speak viith me on the matter.
          Thank you,

          Katrina Seipel
          Attorney at Lavi, Associate



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          original and all copies of the message,
          -----Original Message-----
          From: Arnaud Paris <arnaud@ilivr.com>
          Sent: Wednesday, June 26, 2024 11:55 AM


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